        Case 2:21-cr-00257-TJS         Document 29          Filed 05/07/25    Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                            :          CRIMINAL ACTION
                                                     :
                v.                                   :
                                                     :
 RAUL ESCOLASTICO                                    :          NO. 21-257

                                            MEMORANDUM

Savage, J.                                                                           May 7, 2025

       Defendant Raul Escolastico moves for a two-point reduction to his criminal history

score under U.S. Sentencing Guidelines Amendment 821. The government opposes

relief, arguing he is not eligible for relief under the amendment. Because the amendment

does not apply, we shall deny his motion.

       On August 31, 2021, Escolastico pleaded guilty to reentry after deportation, in

violation of 8 U.S.C. §§ 1326(a), (b)(2). As calculated in the Pre-Sentence Investigation

Report, his total offense level was 21, and his criminal history score was 9. The criminal

history score was based on two drug-related convictions and a prior conviction for reentry

after deportation. Escolastico’s criminal history score placed him in criminal history

category IV. His guidelines range, based on a total offense level of 21 and criminal history

category IV, was 57 to 71 months. He was sentenced to 42 months, 15 months below

the bottom of his guidelines range. 1

                                                 Analysis




       1 Escolastico had been detained in federal custody since June 9, 2021. The Bureau of Prisons’

Inmate Locator shows he has not been in custody since May 31, 2024.
       Case 2:21-cr-00257-TJS        Document 29      Filed 05/07/25     Page 2 of 3




       When a defendant “has been sentenced to a term of imprisonment based on a

sentencing range that has subsequently been lowered by the Sentencing Commission,”

a court may reduce the sentence if, after consideration of the factors set forth in 18 U.S.C.

§ 3553(a), it determines that (1) the “reduction is consistent with applicable policy

statements issued by the Sentencing Commission;” and (2) the defendant is not a danger

to society. 18 U.S.C. § 3582(c)(2); 18 U.S.C. § 3142(g).

       The Sentencing Guidelines provide that a court “shall determine the amended

guideline range that would have been applicable to the defendant if the amendment(s) to

the guidelines listed in subsection (d) had been in effect at the time the defendant was

sentenced.” U.S.S.G. § 1B1.10(b)(1); see also Dillon v. United States, 560 U.S. 817, 827

(2010) (noting courts considering § 3582(c)(2) motions must first “determine [a

defendant’s] eligibility for a sentence modification and the extent of the reduction

authorized[,]” and then consider the § 3553(a) factors to determine whether a reduction

is warranted). If an amendment does not lower the guidelines range, a reduction “is not

consistent with this policy statement and therefore is not authorized under 18 U.S.C. §

3582(c)(2).” U.S.S.G. § 1B1.10(a)(2).

       On November 1, 2023, Amendment 821 to the U.S. Sentencing Guidelines

became effective. Part A of the amendment changed the application of status points,

which are “the additional criminal history points given to defendants for the fact of having

committed the instant offense while under a criminal justice sentence, including probation,

parole, supervised release, imprisonment, work release, or escape status.” U.S. SENT’G

GUIDELINES MANUAL § 1B1.10 cmt. n. 7 (U.S. SENT’G COMM’N 2024). Part A decreased the

status points assigned to defendants with seven or more criminal history points from two
                                                 2
       Case 2:21-cr-00257-TJS        Document 29      Filed 05/07/25     Page 3 of 3




to one, and eliminated status points for defendants with six or less criminal history points.

Id; see also U.S.S.G. § 4A1.1.        The Sentencing Commission allowed retroactive

application of Part A, with an effective date of February 1, 2024.

       Amendment 821 does not apply to Escolastico. He received nine criminal history

points based on his prior convictions. Because he was not serving any other sentence at

the time he committed the offenses in this case, he did not receive any status points.

Therefore, the amendment does not apply and he is not eligible for relief under §

3582(c)(2).




                                                 3
